Case 2:22-cv-01674-TSZ Documenti1-1 Filed 11/22/22 Page1of10

EXHIBIT 1
Case 2:22-cv-01674-TSZ Documenti1-1 Filed 11/22/22 Page 2of10

STATE OF WASHINGTON
—— OFFICE OF GOVERNOR JAY INSLEE =——

PROCLAMATION BY THE GOVERNOR
AMENDING PROCLAMATION 20-05, et seq.

21-14
COVID-19 VACCINATION REQUIREMENT

WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of
Emergency for all counties throughout Washington State as a result of the coronavirus
disease 2019 (COVID-19) outbreak in the United States and confirmed person-to-person

spread of COVID-19 in Washington State; and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant
progression in Washington State, and the high risk it poses to our most vulnerable populations and
our health care system, I have subsequently issued several amendatory proclamations, exercising
my emergency powers under RCW 43.06.220 by prohibiting certain activities and waiving and
suspending specified laws and regulations, including issuance of Proclamations 20-25, et seq.,
which limit Washingtonians’ ability to participate in certain activities unless certain conditions are

met; and

WHEREAS, during early stages of the COVID-19 pandemic, health professionals and
epidemiological modeling experts indicated that the spread of COVID-19, if left unchecked,
threatened to overwhelm portions of Washington’s public and private health-care system; and

WHEREAS, to protect some of our most vulnerable populations — persons in health care
facilities, long-term care facilities (which includes nursing homes), and similar congregate care
facilities — and to protect our health and congregate care systems themselves, I issued several
proclamations imposing heightened protections on workers, residents and visitors in those

facilities; and

WHEREAS, although COVID-19 continues as an ongoing and present threat in Washington State,
the measures we have taken together as Washingtonians over the past 18 months, including the
willingness of most Washingtonians to take advantage of the remarkable, life-saving vaccines being
administered throughout the state, have made a difference and have altered the course of the

pandemic in fundamental ways; and
Case 2:22-cv-01674-TSZ Documenti1-1 Filed 11/22/22 Page 3of10

WHEREAS, after months of improving COVID-19 epidemiological conditions in Washington
State, the emergence of highly contagious COVID-19 variants, including the “delta variant” that
is at least twice as transmissible as the virus that emerged in late 2019, coupled with the
continued significant numbers of unvaccinated people, have caused COVID-19 cases and
hospitalizations to rise sharply among unvaccinated populations and have resulted in
breakthrough infections in some fully vaccinated individuals; and

WHEREAS, COVID-19 vaccines are effective in reducing infection and serious disease,
widespread vaccination is the primary means we have as a state to protect everyone, including
persons who cannot be vaccinated for medical reasons, youth who are not eligible to receive a
vaccine, immunocompromised individuals, and vulnerable persons including persons in health
care facilities, long-term care facilities and other congregate care facilities from COVID-19

infections; and

WHEREAS, widespread vaccination is also the primary means we have as a state to protect our
health care system, to avoid the return of stringent public health measures, and to put the

pandemic behind us; and

WHEREAS, COVID-19 vaccinations have been available in Washington State from December
2020 to the present, and since April 15, 2021, all Washingtonians over the age of 16 have been
eligible to receive free COVID-19 vaccinations from a wide variety of providers at many

locations; and

WHEREAS, as of August 4, 2021, nearly 4.4 million Washingtonians, about 70% of those eligible
and 58% of the total population, had initiated their vaccine series, leaving 2.1 million eligible
Washingtonians who were unvaccinated; and

WHEREAS, according to the CDC, as of August 1, 2021, approximately 67% of staff in
Washington state nursing homes were fully vaccinated; and

WHEREAS, healthcare workers face COVID-19 exposures in a variety of healthcare settings, with
those involving direct patient care likely at higher risk; and

WHEREAS, COVID-19 vaccines are safe and effective. COVID-19 vaccines were evaluated in
clinical trials involving tens of thousands of participants and met the U.S. Food & Drug
Administration’s rigorous scientific standards for safety, effectiveness, and manufacturing
quality needed to support emergency use authorization; and, to date, more than 346 million doses
of COVID-19 vaccines have been given in the United States with 8.2 million of those doses
administered in Washington, and serious safety problems and long-term side effects are rare; and

WHEREAS, on July 6, 2021, the Office of Legal Counsel of the United State Department of
Justice issued a legal opinion stating that federal and state governments were not prohibited by
federal law from imposing vaccination mandates, even when the only vaccines available are those
authorized under U.S. Food and Drug Administration Emergency Use Authorizations; and

2
Case 2:22-cv-01674-TSZ Documenti1-1 Filed 11/22/22 Page4of10

WHEREAS, on July 26, 2021, approximately 60 medical groups, including the American Medical
Association, the American College of Physicians, the American Academy of Pediatrics, the
American Academy of Family Physicians, the American Nurses Association, the American
Academy of Physician Assistants, the Association of Professionals in Infection Control and
Epidemiology, the American Public Health Association, the Infectious Diseases Society of America
LeadingAge, the National Hispanic Medical Association, the National Medical Association, and the
Society of Infectious Disease Pharmacists, issued a memorandum supporting mandatory, universal
vaccination of all public and private health care and long-term care workers, noting that such a
requirement is the “fulfillment of the ethical commitment of all health care workers to put patients
as well as residents of long-term care facilities first and take all steps necessary to ensure their
health and well-being”; and on August 2, 2021, the Washington State Society of Post-Acute and
Long-Term Care Medicine submitted a letter in support of the above noted July 26, 2021

memorandum; and

WHEREAS, on July 15, 2021, the American College of Obstetricians and Gynecologists, together
with the Society for Maternal-Fetal Medicine, posted a formal opinion stating that medical
professionals have an ethical obligation to be vaccinated against COVID-19 to prevent the spread of
harmful infectious diseases, and that women who are or may become pregnant should be vaccinated

against COVID-19; and

WHEREAS, it is the duty of every employer to protect the health and safety of employees by
establishing and maintaining a healthy and safe work environment and by requiring all employees
to comply with health and safety measures; and

WHEREAS, state employees live in and provide services to the public in every county in our state,
and many interact with the public on a regular basis, and they all interact with some portion of the
community at large to varying degrees before and/or after state work hours; and

WHEREAS, to further our individual and collective duty to reduce the spread of COVID-19 in our
communities, I am requiring all employees, on-site independent contractors, volunteers, goods and
services providers, and appointees of designated state agencies to be fully vaccinated against
COVID-19 on or before October 18, 2021; and

WHEREAS, the worldwide COVID-19 pandemic and its persistence in Washington State continue
to threaten the life and health of our people as well as the economy of Washington State, and remain
a public disaster affecting life, health, property or the public peace; and

WHEREAS, the Washington State Department of Health continues to maintain a Public Health
Incident Management Team in coordination with the State Emergency Operations Center and other
supporting state agencies to manage the public health aspects of the incident; and

WHEREAS, the Washington State Military Department Emergency Management Division,
through the State Emergency Operations Center, continues coordinating resources across state
government to support the Department of Health and local health officials in alleviating the impacts
to people, property, and infrastructure, and continues coordinating with the state Department of

3
Case 2:22-cv-01674-TSZ Documenti1-1 Filed 11/22/22 Page5of10

Health in assessing the impacts and long-term effects of the incident on Washington State and its

people; and

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of the above
noted situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim and order
that a State of Emergency continues to exist in all counties of Washington State, that Proclamation
20-05, as amended, remains in effect, and that, to help preserve and maintain life, health, property
or the public peace pursuant to RCW 43.06.220(1)(h), and (3), I hereby prohibit, subject to the
conditions, exceptions, and circumstances set forth below, the following activities:

1. Prohibitions. This order prohibits the following:

a.

b.

Any Worker from engaging in work for a State Agency after October 18, 2021 if the
Worker has not been fully vaccinated against COVID-19;

Any State Agency from permitting any Worker to engage in work for the agency
after October 18, 2021 if the Worker has not been fully vaccinated against COVID-
19 and provided proof thereof to the agency;

Any Health Care Provider from failing to be fully vaccinated against COVID-19
after October 18, 2021; and

Any individual or entity that operates a Health Care Setting from permitting a Health
Care Provider to engage in work for the individual or entity as an employee,
contractor, or volunteer after October 18, 2021 if the Health Care Provider has not
been fully vaccinated against COVID-19 and provided proof thereof to the individual
or entity. Providers who do not work in a Health Care Setting must provide proof of
vaccination to the operator of the facility in which the Provider works, if any, or, if
requested, to a lawful authority. A lawful authority includes, but is not limited to, law
enforcement, local health jurisdictions, and the state Department of Health.

2. Exemptions from Vaccine Requirement.

a.

Health Care Providers and Workers for State Agencies are not required to get
vaccinated against COVID-19 if they are entitled under the Americans With
Disabilities Act (ADA), Title VII of the Civil Rights Act of 1964 (Title VID), the
Washington Law Against Discrimination (WLAD), or any other applicable law to a
disability-related reasonable accommodation or a sincerely held religious belief
accommodation to the requirements of this order. Nothing herein precludes
individuals or entities for which Health Care Providers work as employees,
contractors, or volunteers and State Agencies from providing disability-related
reasonable accommodations and religious accommodations to the requirements of
this order as required by the laws noted above. As provided in the ADA, Title VI,
and the WLAD, individuals or entities for which Health Care Providers work as
employees, contractors, or volunteers and State Agencies are not required to provide
such accommodations if they would cause undue hardship.

To the extent permitted by law, before providing a disability-related reasonable
accommodation to the requirements of this order, individuals or entities for which

4
Case 2:22-cv-01674-TSZ Document1-1 Filed 11/22/22 Page6of 10

Health Care Providers work as employees, contractors, or volunteers and State
Agencies must obtain from the individual requesting the accommodation
documentation from an appropriate health care or rehabilitation professional
authorized to practice in the State of Washington stating that the individual has a
disability that necessitates an accommodation and the probable duration of the need

for the accommodation.

c. To the extent permitted by law, before providing a sincerely held religious belief
accommodation to the requirements of this Order, individuals or entities for which
Health Care Providers work as employees, contractors, or volunteers and State
Agencies must document that the request for an accommodation has been made and
the document must include a statement regarding the way in which the requirements
of this order conflict with the religious observance, practice, or belief of the
individual.

3. Acceptable Proof of Full Vaccination Against COVID-19: Where required above, Workers
for State Agencies and Health Care Providers must provide proof of full vaccination against
COVID-19 by providing one of the following:

a. CDC COVID-19 Vaccination Record Card or photo of the card;
b. Documentation of vaccination from a health care provider or electronic health
record; or
c. State immunization information system record.
Personal attestation is not an acceptable form of verification of COVID-19 vaccination.

4. Public and Private Entities and Employers May Exceed These Requirements: Nothing in
this order prohibits individuals or entities employing or using the services of Health Care
Providers and State Agencies from implementing requirements that exceed the requirements

of this Order.

5. Definitions.
a. “Worker”:
¢ For purposes of this order, “worker” includes:

» A person engaged to work as an employee, independent contractor,
service provider, volunteer, or through any other formal or informal
agreement to provide goods or services, whether compensated or
uncompensated, but does not include a visitor or patron;

« The director, secretary, or other executive officer of a State Agency;

« A person appointed to serve on a board, commission, or similar body that
is an executive cabinet agency listed at
ntioycae ffearenay evens oa awit hoes net or

goO*V Wwa.gov/ottice-s

a small cabinet agency listed at

¢ The following exceptions apply to the definition of “worker”:
« Independent contractors, and any of their workers, are exempt from this
order unless any provision of the contract to provide goods or services
requires work to be performed in person and on site, regardless of

5
Case 2:22-cv-01674-TSZ Document1-1 Filed 11/22/22 Page 7 of 10

frequency, whether other workers are present, or any contingent nature of

that requirement.
« For any State Agency that is listed as an agency under the authority of a

board, counell, © or E conmmaisston at

if and that is iS snot also listed as an executive cabinet agency at
. of covernor/oft oes cabinet or

a a small cabinet agency at
the State Agency" s 5 compensated employees at are . “workers” subject, to the
requirements of this proclamation.

b. “Health Care Provider” includes:

e

Individuals with credentials SUSI in the |
‘ntialing | § list;

Individuals who are = permitted by law to provide health care services in a
professional capacity without holding a credential;

Long-term care workers unless specifically excluded in this order; and
Workers in any Health Care Setting, as defined herein.

“Health Care Provider” does not include, for purposes of this order:

Individual providers, as defined in RCW 74.39A.240;

Providers of personal care in a person’s home, such as home care, home
health or hospice care;

Providers who are not actively practicing or providing services; and
Providers who provide services only at one or more of the settings that are
expressly excluded from the list of Health Care Settings under this order.

c. “Health Care Setting” is any public or private setting that is primarily used for the
delivery of in-person health care services to people, except as specifically exempted
below. If located at a facility that is primarily used for the delivery of health-care
services, such as a hospital, then the entire facility is a Health Care Setting. If located
at a facility that is primarily used for another purpose, such as a pharmacy within a
grocery store, school nurse’s office, or vaccination clinic within a business
establishment, the Health Care Setting includes only the areas that are primarily used
for the delivery of health care and the areas regularly occupied by Health Care
Providers and people seeking care, but not the other areas of the facility.

“Health Care Setting” includes, but is not limited to:

e

Acute care facilities, including, but not limited to, hospitals;

Long-term acute care facilities;

Inpatient rehabilitation facilities;

Inpatient behavioral health facilities, including, but not limited to, evaluation

and treatment facilities, residential treatment facilities, secure detox facilities;
6
Case 2:22-cv-01674-TSZ Document1-1 Filed 11/22/22 Page8 of 10

Residential long-term care facilities, including, but not limited to, nursing
homes, assisted living facilities, adult family homes, settings where certified
community residential services and supports are provided, and enhanced
services facilities;

Mobile clinics or other vehicles where health care is delivered;

Outpatient facilities, including, but not limited to, dialysis centers, physician
offices, and behavioral health facilities (including offices of psychiatrists,
mental health counselors, and substance use disorder professionals);

Dental and dental specialty facilities;

Pharmacies (not including the retail areas);

Massage therapy offices (this includes designated areas where massage is
administered within non-health care settings like spas and wellness/fitness
centers);

Chiropractic offices;

Midwifery practices and stand-alone birth centers;

Isolation and/or quarantine facilities;

Ambulatory surgical facilities; « Urgent care centers; and* Hospice
care centers.

“Health Care Setting” does not include:

Settings where sports and spectator events or other gatherings are held
(including when credentialed athletic trainers are providing care to players),
other than areas primarily used for the delivery of health care services, such
as designated first aid areas (which are Health Care Settings);

Department of Children, Youth & Families (DCYF)-licensed foster homes
that do not primarily provide health care services;

Research facilities where no health care is delivered to people;

Veterinary health care settings;

Animal control agencies; and « Non-profit humane societies.

d. “State Agency” includes:

Every agency listed at

https://www.governor, wa. gov/ollicegovernor/oti

Every af agency listed at
Wi inet; and

Every aj agency / under the authority 0 of a board, council, or commission listed at

‘ “except the State Board for Community a and nd Technical € Colleges and the
governing boards of four-year institutions of higher education.

e. “Fully Vaccinated against COVID-19”: A person is fully vaccinated against COVID-
19 two weeks after they have received the second dose in a two-dose series of a
COVID-19 vaccine authorized for emergency use, licensed, or otherwise approved
by the FDA (e.g., Pfizer-BioNTech or Moderna) or two weeks after they have

7
Case 2:22-cv-01674-TSZ Documenti1-1 Filed 11/22/22 Page9of10

received a single-dose COVID-19 vaccine authorized for emergency use, licensed, or
otherwise approved by the FDA (e.g., Johnson & Johnson (J&J)/Janssen.

ADDITIONALLY, the specific prohibitions in this Proclamation are severable and do not apply to
the extent that compliance with a prohibition would violate (1) any U.S. or Washington
constitutional provision; (2) federal statutes or regulations; (3) any conditions that apply to the
state’s receipt of federal funding; (4) state statutes; or (5) applicable orders from any court of

competent jurisdiction.

ADDITIONALLY, nothing in this Proclamation limits otherwise applicable requirements related
to personal protective equipment, personnel training, and infection control policies and procedures.

I again direct that the plans and procedures of the Washington State Comprehensive Emergency
Management Plan be implemented throughout state government. State agencies and departments
are directed to continue utilizing state resources and doing everything reasonably possible to
support implementation of the Washington State Comprehensive Emergency Management Plan and
to assist affected political subdivisions in an effort to respond to and recover from the COVID-19

pandemic.

I continue to order into active state service the organized militia of Washington State to include the
National Guard and the State Guard, or such part thereof as may be necessary in the opinion of The
Adjutant General to address the circumstances described above, to perform such duties as directed
by competent authority of the Washington State Military Department in addressing the outbreak.
Additionally, I continue to direct the Department of Health, the Washington State Military
Department Emergency Management Division, and other agencies to identify and provide
appropriate personnel for conducting necessary and ongoing incident related assessments.

Violators of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5). Further,
if people fail to comply with the required facial coverings, social distancing and other protective
measures while engaging in this phased reopening, I may be forced to reinstate the prohibitions
established in earlier proclamations.

This order is effective immediately. Unless extended or amended, upon expiration or termination of
this amendatory proclamation the provisions of Proclamation 20-25, et seq., will continue to be in
effect until the state of emergency, issued on February 29, 2020, pursuant to Proclamation 20-05, is

rescinded.

Signed and sealed with the official seal of the state of Washington on this 9th day of August, A.D.,
Two Thousand and Twenty-One at Olympia, Washington.

/s/
Case 2:22-cv-01674-TSZ Document1-1 Filed 11/22/22 Page 10of 10

Jay Inslee, Governor

BY THE GOVERNOR:

/s/

Secretary of State
